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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN


 UNITED STATES OF AMERICA,
         Plaintiff,
                                                                Hon. Janet T. Neff
 v.
                                                                Case No. 1:15-cr-00218
 ELISABE HERNANDEZ-PEREZ,
         Defendant.
 ________________________________/

                          REPORT AND RECOMMENDATION

        Pursuant to W.D. Mich. L.Cr.R. 11.1, I conducted a plea hearing in the captioned

case on March 4, 2016, after receiving the written consent of defendant and all counsel.

At the hearing, defendant Elisabe Hernandez-Perez entered a plea of guilty to Count One

of the Indictment in exchange for the undertakings made by the government in the written

plea agreement. In Count One of the Indictment, defendant is charged with conspiracy

to commit wire fraud in violation of 18 U.S.C. § 1349. On the basis of the record made at

the hearing, I find that defendant is fully capable and competent to enter an informed plea;

that the plea is made knowingly and with full understanding of each of the rights waived

by defendant; that it is made voluntarily and free from any force, threats, or promises,

apart from the promises in the plea agreement; that the defendant understands the nature

of the charge and penalties provided by law; and that the plea has a sufficient basis in

fact.

        I therefore recommend that defendant's plea of guilty to Count One of the

Indictment be accepted, that the court adjudicate defendant guilty, and that the written
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plea agreement be considered for acceptance at the time of sentencing. Acceptance of

the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of

sentence are specifically reserved for the district judge.


Date: March 7, 2016                                      /s/ Ellen S. Carmody
                                                         ELLEN S. CARMODY
                                                         U.S. Magistrate Judge


       OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure

to file objections within the specified time waives the right to appeal the District Court’s

order. Thomas v. Arn, 474 U.S. 140, 155 (1985); United States v. Walters, 638 F.2d 947,

949-50 (6th Cir. 1981).




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